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                                   COURTROOM MINUTES
                               SENTENCING / JUDICIAL REVIEW

        06/23/2021            Wednesday                        1:12 PM                      1:50 PM
DATE: ____________    DAY: ______________     START TIME: ______________      END TIME: ______________
                   Conley                             AOM                                  JD
JUDGE/MAG.: ___________________       CLERK: _____________________   REPORTER: ____________________
                          Rich Williams
PROBATION OFFICER: _________________ INTERPRETER: _________________ SWORN:
             20-cr-137-wmc
CASE NUMBER: _______________________                   Michael Eisenga
                                     CASE NAME: USA v. _____________________________________


APPEARANCES:
AUSA: Meredith P. Duchemin
      ____________________________________                       Christopher T. Van Wagner
                                                DEFENDANT ATTY.: ________________________________
      ____________________________________                           ________________________________
                                                DEFENDANT PRESENT: YES


SENTENCING GUIDELINE RANGE:
                               24
      TOTAL OFFENSE LEVEL: __________                                         I
                                              CRIMINAL HISTORY CATEGORY: __________
                                                 51            63
      ADVISORY GUIDELINE IMPRISONMENT RANGE: __________ to __________ MONTHS.


SENTENCE:
                 1
COUNT(S) _______________:      INDICTMENT         INFORMATION
            1          42           5                 100 CA; $ ___________                0
                                                                 4,027,037.51 REST.; $ __________
CBOP CT. _______;    ______ MOS.; ______ YRS. S/R; $ ______                                       FINE.
      CT. _______;   ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
                              07/30/2021
      VOLUNTARY SURRENDER: _______________            12 PM
                                           between __________        2 PM
                                                              and __________;
      RELEASE CONDITIONS CONTINUED.
      DETAINED.


ACTIONS:
      PLEA AGREEMENT ACCEPTED
      DEFENDANT ADVISED OF RIGHT TO ALLOCUTE (OPPORTUNITY TO SPEAK)
      DEFENDANT ADVISED OF RIGHT TO APPEAL
      GOVERNMENT MOTION TO DISMISS REMAINING COUNTS GRANTED
      REVOKED


NOTES:
 Voluntary surrender date possible to change depending on family court
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
                                                                                              0'38"
                                                                         TOTAL COURT TIME: __________
